EXHIBIT A

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 1 of 18
2016-CV10019

IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

AT INDEPENDENCE

JASON PHASUK )
)
Plaintiff, )
)
v. )

) Case No.:
JAMES DIXON )
145 Hollow Way )
Newport, TN 37821 )
)
And )
)
OLD DOMINION FREIGHT LINE, INC. )
500 Old Dominion Way )
Thomasville, NC 27360 )
)
SERVE REGISTERED AGENT: )
The Corporation Company )
120 South Central Avenue )
Clayton, MO 63105 )
)
Defendants. )

PETITION FOR DAMAGES

 

COMES NOW the Plaintiff, by and through counsel, and for his cause of action
against the Defendants states and alleges as follows:

iL. Plaintiff is and was at all times mentioned herein a residence of Blue
Springs, Eastern Jackson County, Missouri.

a Defendant James Dixon is an individual and employee of Defendant Old
Dominion Freight Line, Inc. (Old Dominion), residing outside the Jackson County area.

0 Defendant Old Dominion is a trucking company dealing in the operation of
commercial commerce in Jackson County, Missouri, and, therefore, is subject to the

jurisdiction of this Court.

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 2 of 18

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4, The events giving rise to this cause of action occurred in Independence,
Eastern Jackson County, and this Court, therefore, has personal and subject matter
jurisdiction and venue over this cause of action.

3. On September 9, 2018, at approximately 11:30 p.m., Plaintiff was operating
his 2003 Toyota Corolla on westbound I-70 approaching the Little Blue Parkway.

6. On the date, time and location stated above Defendant Dixon was driving a
2017 Freightliner for his employer, Old Dominion, and was traveling westbound in the
middle lane of traffic on I-70 in the lane next to Plaintiffs vehicle.

7. As Plaintiff proceeded in the far right lane on westbound I-70 with
Defendant in the center lane, Defendant caused his truck to change lanes into the
Plaintiff's lane, resulting in a collision and the damages and injuries hereinafter
described.

8. At all times mentioned herein Defendant Dixon was driving the 2017
Freightliner owned by Defendant Old Dominion within the course and scope of his
employment so that all of the acts and negligence alleged herein against Defendant Dixon
apply to Defendant Old Dominion in its capacity as the employer.

). When Dixon caused his vehicle to change lanes into Plaintiff's lane striking
the Plaintiff, Dixon was negligent in one or more the following respects:

a. Defendant Dixon made an improper lane change causing
his truck to collide with Plaintiff's vehicle;

b. Defendant Dixon failed to keep a proper lookout and,

therefore, did not see Plaintiff in the adjoining lane, which
resulted in Defendant striking Plaintiff's car;

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 3 of 18

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é. Defendant Dixon failed to operate his truck using the
highest degree of care and by causing his vehicle to
collide with Plaintiff's automobile;

d. Defendant Dixon was negligent in one or more other
respects that will be determined through the course of
discovery in this action.

10. Defendant’s conduct as described herein was a direct and proximate cause
of the accident between Defendant and Plaintiff, and resulted in Plaintiff's damages and
injuries.

11. Asa direct and proximate result of the accident, Plaintiff sustained property
damage to his vehicle, personal injuries to his body, including but not limited to, head
injury, neck injury, shoulder injury, and associated conditions from the injury; and,
Plaintiff incurred reasonable and necessary medical expenses, wage loss, and has suffered
pain, discomfort, and permanent disability from his injuries. All of Plaintiff's injuries are
permanent, progressive, and directly caused by the aforedescribed accident.

WHEREFORE, Plaintiff prays judgment against Defendants, both jointly and
severally, for such sum as will fairly and adequately compensate the Plaintiff for his
damages, for pre-judgment and post-judgment interest, for his costs incurred and

expended herein, and for such other and further relief as the Court deems just and proper

under the circumstances.

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 4 of 18

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SCHAFFER, McINTOSH & EFFERTZ

/s/ Steven C. Effertz
STEVEN C. EFFERTZ #27780
14701 E. 42nd Street
Independence, MO 64055
(816) 373-5590
(816) 373-2112 (FAX)
steve@smelawfirm.com
ATTORNEY FOR PLAINTIFF

Case 4:20-cv-00384-DGK Document1-1 Filed 05/14/20 Page 5 of 18

Wd 9P:Z0 - OZ0Z ‘97 YOseI| - SoUepUedepU - UOSyIEP - Pally Ajjeq]U0L}99/3
IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

AT INDEPENDENCE
JASON PHASUK,
PLAINTIFEF(S), CASE NO. 2016-CV10019
VS. DIVISION 12
JAMES DIXON,
DEFENDANT(S).

NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
AND ORDER FOR MEDIATION

 

NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable JENNIFER PHILLIPS on 03-AUG-2020 in DIVISION 12 at 10:00 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16 Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16" Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.

At the Case Management Conference, counsel should be prepared to address at least the
following:

a. A trial setting;
b. Expert Witness Disclosure Cutoff Date;

c. A schedule for the orderly preparation of the case for trial;
d. Any issues which require input or action by the Court;
e. The status of settlement negotiations.
2016-CV10019 Page 1 of 2 DMSNCMCIVI (2/2017)

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 6 of 18
MEDIATION

The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

POLICIES/PROCEDURES
Please refer to the Court’s web page www. 1 6thcircuit.org for division policies and
procedural information listed by each judge.

/S/ JENNIFER PHILLIPS
JENNIFER PHILLIPS, Circuit Judge

Certificate of Service

This is to certify that a copy of the foregoing was electronic noticed, faxed, emailed
and/or mailed or hand delivered to the plaintiff with the delivery of the file-stamped copy of the
petition. It is further certified that a copy of the foregoing will be served with the summons on
each defendant named in this action.

Attorney for Plaintiff(s):
STEVEN CARL EFFERTZ, 14701 E 42ND STREET SOUTH, INDEPENDENCE, MO 64055

Defendant(s):
JAMES DIXON
OLD DOMINION FREIGHT LINE, INC.
Dated: 31-MAR-2020 MARY A. MARQUEZ
Court Administrator
2016-CV1i0019 Page 2 of 2 DMSNCMCIVI (2/2017)

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 7 of 18
IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
[] ATKANSAS CITY [_] AT INDEPENDENCE

RE: JASON PHASUK V JAMES DIXON ET AL
CASE NO: 2016-CV10019

TO: STEVEN CARL EFFERTZ
14701 E 42ND STREET SOUTH
INDEPENDENCE, MO 64055

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on 3-26-20.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE RULE 68.7 — VITAL STATISTICS REPORT

L] Additional service instructions are needed. LJ Need Certificate of dissolution of marriage form.

[_] Incorrect case number/filed in wrong county.

L_] Document is unreadable, RULE 74.14 SUPREME CT — FOREIGN JUDGMENT
L] Authentication of foreign judgment required.

RULE 4.2 (2) (] Affidavit pursuant to Supreme Court Rule 74.14

[_] Need Circuit Court Form 4
RULE 54.12 SERVICE IN REM OR QUASI IN REM

RULE 5.6 — COLLECTIONS OF DEPOSIT ACTIONS

_] No fee, or incorrect fee, received; fee required is $ . [_] Affidavit for Service by Publication required pursuant to

[_] Insufficient Filing Fee; Please Remit $ Supreme Court Rule 54,12c.

(_] No signature on check/form 1695. L] Order for Service by Publication required pursuant to

[_] No request to proceed in forma pauperis. Supreme Court Rule 54.12c.

[_] No personal checks accepted. (| Notice for Service by Publication required pursuant to
Supreme Court Rule 54.12c.

RULE 68.1 L] Affidavit for Service by Certified/Registered Mail

L] Need Circuit Court Form 17 pursuant to Supreme Court Rule 54.12b.

OTHER: If service is needed please efile instructions. Thank you 816-881-1655

[_] Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
[_] The private process server listed is not on our approved list.

[_] Execution in effect. Return date . Request may be resubmitted within one week prior to return date.
[_] Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without

prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.

Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.

Copies electronic noticed, faxed, emailed and/or mailed MARCH 31, 2020 to:
COURT ADMINISTRATOR’S OFFICE
DEPARTMENT OF CIVIL RECORDS
CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

 

MARCH 31, 2020

Date 5 Deput# ourt Administrator
LI 415 East 12" St., Kansas City, Missouri 64106
308 W. Kansas, Independence, Missouri 64050

 

Case no. 2016-CV BHI 4:20-cv-00384-DGK Docliffférf4-1 Filed 05/14/20 Page 8 of 18 YP OO"
IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

 

L_] AT KANSAS CITY AT INDEPENDENCE
JASON PHASUK NO._2016-CV10019
We XX] CIRCUIT JUDGE
L] ASSOCIATE CIRCUIT JUDGE
JAMES DIXON, ET AL. -] SMALL CLAIMS

 

MEMORANDUM TO DEPARTMENT OF CIVIL RECORDS
INSTRUCTIONS FOR ALIAS SUMMONS

[_] PRIVATE PROCESS [x] CIVIL PROCESS

ISSUE ALIAS SUMMONS TO DEFENDANT James Dixon
145 Hollow Way
Newton, TN 37821

Sheriff of Cocke County, TN
COUNTY OF SERVICE

CASE CONTINUED TO:

 

[] PREPARE TRANSCRIPT OF JUDGMENT CJ AUTHENTICATED [CERTIFIED [[] RECORD AS LIEN
C1 WILETTER

REQUESTED BY

 

 

 

 

 

 

Steven C. Effertz /s! Steven C. Effertz
NAME OF LI CREDITOR [] ATTORNEY & BAR NO. SIGNATURE
14701 E. 42™ Street (816) 373-5590
ADDRESS PHONE
Independence, MO 64055 March 31, 2020
CITY STATE ZIP DATE

Please Provide Original & Copy

CIRCT 1699 - 4/98

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 9 of 18

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IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 

 

 

Judge or Division: Case Number: 2016-CV10019
JENNIFER PHILLIPS

Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/Address
JASON PHASUK STEVEN CARL EFFERTZ

14701 E 42ND STREET SOUTH
vs. | INDEPENDENCE, MO 64055

 

 

 

 

Defendant/Respondent: Court Address:

JAMES DIXON 308 W Kansas

Nature of Suit: INDEPENDENCE, MO 64050

CC Pers Injury-Vehicular (Date File Stamp)

 

Summons in Civil Case

 

The State of Missouri to: JAMES DIXON
Alias:
145 HOLLOW WAY
NEWPORT, TN 37821

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken agains! yg for the rgfief demanded in the petition.

  
 

02-APR-2020
Date

 

JA CKSON COUNTY Further Information:

 

Sheriff’s or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
I certify that I have served the above summons by: (check one)
O delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with

a person of the Defendant’s/Respondent’s family over the age of 15 years who
permanently resides with the Defendant/Respondent.

[_] (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
LC] other
Served at _ (address)
in __ (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriff's Fees
Summons $
Non Est $
Sheriff's Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ $. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-2907 1 of 1Civil Procedure Form No. 1, Rules 54.01 — 54.05,

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/36“Page 1d of 18"
SUMMONS/GARNISHMENT SERVICE PACKETS
ATTORNEY INFORMATION

Under the Missouri e-filing system now utilized by the 16™ Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org — Electronic Filing Information + Required Documents for Service — eFiled cases >
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.

Circuit Court of Jackson County

Revised 7/@/A%e 4:20-cv-Gesva liepmatipng AMPH 1-1 Filed 05/14/20 Page 11 of 18
IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

 

[_] AT KANSAS CITY XX] AT INDEPENDENCE
JASON PHASUK NO._2016-CV10019
ve Xx] CIRCUIT JUDGE
L] ASSOCIATE CIRCUIT JUDGE
JAMES DIXON, ET AL. [] SMALL CLAIMS

 

MEMORANDUM TO DEPARTMENT OF CIVIL RECORDS
INSTRUCTIONS FOR ALIAS SUMMONS

[_] PRIVATE PROCESS Xx] CIVIL PROCESS

ISSUE ALIAS SUMMONS TO DEFENDANT Old Dominion Freight Line, Inc.
clo The Corporation Company
120 South Central Avenue
Clayton, MO_ 63105

Sheriff of St. Louis County, MO
COUNTY OF SERVICE

 

 

CASE CONTINUED TO:

 

[|] PREPARE TRANSCRIPT OF JUDGMENT CI AUTHENTICATED [CERTIFIED (J RECORD AS LIEN
CJ] WILETTER

REQUESTED BY

 

 

 

 

 

 

Steven C. Effertz Is/ Steven C. Effertz
NAME OF LIGREDITOR B& ATTORNEY & BAR NO. SIGNATURE
14701 E. 42™ Street (816) 373-5590

ADDRESS PHONE
Independence, MO 64055 April 6, 2020
CITY STATE ZIP DATE

Please Provide Original & Copy

CIRCT 1699 - 4/98

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 12 of 18

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e\ IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 

 

Judge or Division: Case Number: 2016-CV10019
JENNIFER PHILLIPS

Plaintiff/Petitioner: Plaintiff’ s/Petitioner’s Attorney/Address
JASON PHASUK STEVEN CARL EFFERTZ

14701 E 42ND STREET SOUTH
vs. | INDEPENDENCE, MO 64055

 

 

 

 

Defendant/Respondent: Court Address:

JAMES DIXON 308 W Kansas

Nature of Suit: INDEPENDENCE, MO 64050

CC Pers Injury-Vehicular (Date File Stamp)

 

Summons in Civil Case

The State of Missouri to: OLD DOMINION FREIGHT LINE, INC.
Alias:
SRV RA: THE CORPORATION CO
120 SOUTH CENTRAL AVENUE
CLAYTON, MO 63105

 

COURT SEAL OF You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to

file your pleading, judgment by default may be taken against yg§y for the rgfief demanded in the petition.
06-APR-2020 .
Date

JACKSON COUNTY Further Information:

   

 

Sheriffs or Server’s Return
Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
I certify that I have served the above summons by: (check one)
[_] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

CT leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years who

 

permanently resides with the Defendant/Respondent.
oO (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
C1 other
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
Sheriffs Fees
Summons $
Non Est $
Sheriff’s Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ $. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

 

OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-3014 1 of 1Civil Procedure Form No. 1, Rules 54.01 — 54.05,

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/58 "Page 13 oF 18
SUMMONS/GARNISHMENT SERVICE PACKETS
ATTORNEY INFORMATION

Under the Missouri e-filing system now utilized by the 16" Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org —> Electronic Filing Information + Required Documents for Service — eFiled cases >
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.

Circuit Court of Jackson County

Revised 7/@YA8e 4:20-cv-Gesba BeaRatipio Aart 1-1 Filed 05/14/20 Page 14 of 18
 

IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI O48

 

Judge or Division:
JENNIFER PHILLIPS

Case Number: 2016-CV10019

 

Plaintiff/Petitioner:
JASON PHASUK

Sz

Plaintiff’s/Petitioner’s Attorney/Address
STEVEN CARL EFFERTZ

14701 E 42ND STREET SOUTH

vs. | INDEPENDENCE, MO 64055

 

Defendant/Respondent:
JAMES DIXON

Court Address:
308 W Kansas

 

Nature of Suit:
CC Pers Injury-Vehicular

INDEPENDENCE, MO 64050

 

 

(Date File Stamp)

 

Summons in Civil Case

 

CLAYTON, MO 63105

 

JACKSON COUNTY

The State of Missouri to: OLD DOMINION FREIGHT LINE, INC.
Alias:
SRV RA: THE CORPORATION CO

120 SOUTH CENTRAL AVENUE

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken against y

Further Information:

O
Ze eoe.
yw

for the rgfief demanded in the petition.

  
 

06-APR-2020
Date

 

Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
1 certify that I have served the above summons by: (check one)

(_] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
[-] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with

permanently resides with the Defendant/Respondent.

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(for service on a compornion) delivering a copy of the summons and a copy of the petition to ALIST
AKE SPECI

W —A. BRANDON (name) INT. (title).

Sheriff's or Server’s Return

a person of the Defendant’s/Respondent’s family over the age of 15 years who

 

L] other

 

 

Served at

 

 

THE CORPORATION co. f (address)
in _St. Louis County

 

(County/City of St. Louis), MO, on “i (time).

 

_ Alathon Gor.

  

 

Printed Name of Sheriff or Me

 

   

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Must be sworn before a notary public if not served by an authorized officer: “cm us
Subscribed and sworn to before me on (daleh: oS >
(Seal) A ivy}
Tel eee? oO io erate
My commission expires: > aa
Date NaLig-Public3z ~
: — — Pr
Sheriff's Fees on & uf
Summons 3 —
Non Est $ co
Sheriff's Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ $. per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

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I

20 SMCC- BIO

ma 54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo

M4 RIB (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-3014 1 of 1 Civil Procedure Form No. 1, Rules 54.01 — 54.05,

Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 15 of 18

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Case 4:20-cv-00384-DGK Document 1-1 Filed 05/14/20 Page 16 of 18
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IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

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Judge or Division:

Case Number: 2016-CV10019

 

 

 

CC Pers Injury-Vehicular

JENNIFER PHILLIPS i -
Plaintiff/Petitioner: Plaintiff’s/Petitioner’s Attorney/Address
JASON PHASUK STEVEN CARL EFFERTZ
14701 E 42ND STREET SOUTH

vs. | INDEPENDENCE, MO 64055
Defendant/Respondent: Court Address:
JAMES DIXON 308 W Kansas
Nature of Suit: INDEPENDENCE, MO 64050

 

 

(Date File Stamp)

 

CLAYTON, MO 63105

COURT SEAL OF

 

JACKSON COUNTY

SRV RA; THE CORPORATION CO
120 SOUTH CENTRAL AVENUE

Summons in Civil Case

The State of Missouri to: OLD DOMINION FREIGHT LINE, INC.

Alias: 30
crn

You are summoned to appear before this court and to file your pleading to the petition, a copy of
which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
file your pleading, judgment by default may be taken agains for the rgfief demanded in the petition.

  
 

06-APR-2020
Date

Further Information:

 

Sheriff's or Server’s Return

Note to serving officer; Summons should be returned to the court within thirty days after the date of issue.
I certify that I have served the above summions by: (check one)
[_] delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

(1 leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
a person of the Defendant’s/Respondent’s family over the age of 15 years who

INTAKE SPECIALIST

permanently resides with the Defendant/Respondent.
(for service ona coe delivering a copy of the summons and a copy of the petition to

W—A. BRANDON

(name) (title).

 

 

C1 other
Served at THE CORPORATION CO.’

in St. Louis Coun (County/City of St. Louis), MO, on A
Jaros Gow 0 ip fi

 

(address)

   

 

 

 

 

 

 

 

 

 

a Printed Name of Sheriff or Serv: : tyr herve 7
Must be sworn before a notary public if not served by an authorized officer: “4 ey a +
; Subscribed and sworn to before me on (alei, oS & >
(Seal) 2 vl
bs cere teme, tors oe adres
My commission expires: _ re ‘
Date Nake rg: Public ~
Sheriff's Fees oz ge iti
Summons $ Mm ey Naud!
Non Est $ oC
Sheriff's Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ ( miles @ $. per mile)
Total $
A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54.

 

 

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Form No. [, Rules 54.01 — 54.05,

$4.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo

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